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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION
________________________________________________________________________

                                                       16-cv-10904
David Lee, Larry Geanes, Eric M. Harlston,
Reginald E. Harris, Mervin Howard,
Gwendolyn Jackson, Andrea Logan,
Charles Longstreet, Lyndell Luster,                    Judge Sharon Johnson Coleman
David Roberson, Kimberly K. Smith,
Nancy Wheeler Brewster

         Plaintiffs,

vs.

The Northeast Illinois Regional Commuter
Railroad Corporation, d/b/a METRA, et. al.,

         Defendants.


 PLAINTIFFS’ MOTION IN OPPOSITION TO DEFENDANTS’ PETITION FOR
                            ATTORNEY FEES
_______________________________________________________________________


         NOW COMES THE PLAINTIFFS, DAVID LEE, ERIC M. HARLSTON,

REGINALD E. HARRIS, MERVIN HOWARD, GWENDOLYN JACKSON, ANDREA

LOGAN, CHARLES LONGSTREET, LYNDELL LUSTER, DAVID ROBERTSON,

KIMBERLEY K. SMITH AND NANCY WHEELER BREWSTER, by and through their

undersigned counsel, Jill M. Willis, and respectfully requests this Court Deny

Defendants’ Petition for Attorneys’ Fees and rescind the October 22, 2018 Order

granting Fees and Sanctions in favor of NORTHEAST ILLINOIOS REGIONAL

COMMUTER RAILROAD CORPORATION d/b/a METRA, JJOSEPH PEREZ,
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HAROLD FULLER, BRYAN MACK, PAUL RIGGIO, STEVE ALVARADO, BRIAN

PETERS, GLENN M. TRECKLER, CARL ANDERSON, and ART OLSEN (the

“Defendants”) and in support thereof states:

       This Court entered a final judgment of dismissal with prejudice against the Plaintiffs

in this action on February 23, 2018;

       Defendants filed a Rule 1927 Motion for Sanctions against counsel for the Plaintiffs

on April 16, 2018;

       Plaintiffs filed an appeal of the final judgment of this Court to the United States

Court for Appeals for the Seventh Circuit on April 18, 2018;

       By Order entered October 22, 2018, this Court granted Defendants’ Motion for

Sanctions pursuant to Section 1927 in part and denied in part as well as directed Defendants

to submit an affidavit of litigation expenses in defending against certain of Plaintiffs’

claims;

       Plaintiffs filed a Motion for Reconsideration of the Grant of Attorney’s Fees on

November 4, 2018.

       Defendants filed their Motion for Extension of time to file Rates and Hours on November 5,

2018. Defendant counsel represented in that documents that: “In accordance with the

requirements of Local Rule 37.2, the undersigned attempted to confer with Plaintiffs’ counsel

regarding the instant motion on November 5, 2018, but by the time of the filing this motion, the

undersigned was unable to reach her”. Local Rule 37.2 provides for consultation in person or

by telephone to make a good faith attempt to resolve differences. Plaintiffs’ counsel has no

evidence of any attempts of Defendants’ counsel to make contact either by phone or


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email. Furthermore, the same Defendants’ counsel represented before the Seventh Circuit

Court of Appeals that this conference actually took place. Plaintiffs’ counsel may have

issues with her litigation skills, but never with her integrity. In fact, if more time had been

spent on telephone conferences or in person meetings to discuss differences between the

parties as Plaintiffs’ counsel has been able to do with other counsel on other matters

pending before the Court, rather than focus on passing motions back and forth, this

litigation effort may have proceeded more smoothly.

       Defendants filed their Motion for Attorneys Fees on November 16, 2018.

       Plaintiffs filed their Reply to the Defendants Opposition to the Plaintiffs Motion for

Reconsideration of Grant of Fees and Sanctions on November 21, 2018.

       The Petition for Attorneys’ Fees filed on January 18, 2019 requests this Court to

proceed with the Order of October 22, 2018 and representing that the Plaintiffs’ counsel had

not opposed or presented comparators to the Defendants’ Affidavit of Rates and Hours, but

there is a Motion for Reconsideration pending. Plaintiffs’ counsel can’t focus on the rates

and hours (which at first blush seem excessive) while questioning the grant itself.

       It is understood that a district court may impose monetary sanctions upon plaintiffs

who file Title VII claims that are “frivolous, unreasonable, or without foundation.”

Christiansburg Garment Company v. EEOC, 434 U.S. 412, 421-22 (1978). Because the

Court intended to promote vigorous enforcement of the provisions of Title VII, a district

court must exercise caution in awarding fees to a prevailing defendant in order to avoid

discouraging legitimate suits that may not be “airtight”. Id. At 422. This Circuit has also

suggested that the “frivolous” standard is much more stringent than pleadings merely “not


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substantially justified”. EEOC v. Consolidated Service System, 30 F.3d 58, 59 (7th Cir.

1094).

         A district court’s decision not to impose Rule 11 sanctions on a plaintiff who failed

to make out a prima facie case under Title VII was affirmed because the claim was not filed

with improper motives. Kizer v. Children’s Learning Center, 962 F.2d 608, 613 (7th Cir.

1992). My motives were not improper, but I admit the complexity of this case, including the

large number of plaintiffs and defendants, exceeded my skill level. Yes, mistakes were

made, but without intent to be “vexatious” or “frivolous”. Section 1927 sanctions are purely

discretionary. I firmly believe and did my best to plead that there is a racially discriminatory

environment in the Metra police department that has impacted these Plaintiffs. As known to

the Defendants’ counsel, the Metra MAPS Union President, Joseph Kresch, has attested in

his own Title VII complaint, pending in the Northern District of Illinois since last year, to

his personal knowledge of racially discriminatory behavior directed against African-

American Metra police officers. Plaintiffs’ counsel spoke with Mr. Kresch at length before

he filed his federal complaint and he corroborated many of the claims of these Plaintiffs, for

which the MAPS union had unsuccessfully attempted to seek redress.

         WHEREFORE, Plaintiffs, through their counsel, respectfully request that this Court

deny the Petition for Attorney Fees and Sanctions and grant a reversal of the October 22,

2018 Order to Grant Legal Fees and Sanctions. The dismissal with prejudice, rather than




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sever the group as the Defendants’ alternatively proposed, was a harsh enough judgment.



January 24, 2019                         Respectfully submitted,

                                         _/s/ Jill M. Willis
                                         Counsel for the Plaintiffs




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                                CERTIFICATE OF SERVICE


The undersigned Jill M. Willis certifies that on January 24, 2019, she caused to be served a copy

of the foregoing Plaintiffs’ Motion in Opposition To Defendants’ Petition For Attorney

Fees and Sanctions, in the above-captioned matter, to be filed with the Clerk of the United

States District Court for the Northern District of Illinois and served on the parties of record on

January 24, 2019 a copy via CM/ECF.




                                                            /s/Jill M. Willis_________

                                                           Attorney for the Plaintiffs




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